Case 6:07-cv-00204-LED Document 291-13 Filed 03/15/10 Page 1 of 24 PageID #: 16626




                             Exhibit L
Case 6:07-cv-00204-LED Document 291-13 Filed 03/15/10 Page 2 of 24 PageID #: 16627




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION
            MARVELL SEMICONDUCTOR,                          )
            INC., MARVELL ASIA PTE,                         )
            LTD., and MARVELL INTL,                         )
            LTD.                                            )
                                                            )
                        Plaintiffs and                      )
                        Counterdefendants                   ) CIVIL ACTION
                                                            )
           VS.                                              ) NO. 6-07-CV-204 LED
                                                            )
           COMMONWEALTH SCIENTIFIC                          )
           AND INDUSTRIAL RESEARCH                          )
           ORGANISATION,                                    )
                                                            )
                        Defendant and                       )
                        Counterclaimant.                    )




                             CERTIFICATE OF NONAPPEARANCE
                      REPRESENTATIVE FOR SONY ELECTRONICS, INC.
                                     JANUARY 28, 2010



                                            Reported by:                         Jan Newman Carter
                                                                                     Job No. 83137




                                                                                                          SAN ANTONIO
                                        15150 Preston, Ste. 300     6575 West Loop South, Ste. 580   8000 lli-lO West, Ste. 1500
                                         Dallas, Texas 75248        Houston! Bellaire, Texas 77401    San Antonio, Texas 78230
                                            214*747.0763                   713·667-0763                    210-342-0763
                                          CORPUS CHRISTI                      AUSTIN                       EAST TEXAS
                                      711 N. Carancahua, Ste. 700     6448 Hwy. 29GB, Ste. EIOS      102 North College, Ste. 1014
                                      Corpus Christi, Texas 78475        Austin, Texas 78723             Tyler, Texas 75702
                                             361.882.0763                   512·465-9100"' .               903·593-3213

                                                         1-800-666-0763· www.sunbeltreporting.com
Case 6:07-cv-00204-LED Document 291-13 Filed 03/15/10 Page 3 of 24 PageID #: 16628
                                                                                              2
                              CERTIFICATE OF NONAPPEARANCE

     1                             A P PEA RAN C E S
     2
     3 FOR COMMONWEALTH SCIENTIFIC AND
       INDUSTRIAL RESEARCH ORGANISATION:
     4
               JESSICA L. HANNAH (BY TELEPHONE)
     5         CAPSHAW & DERIEUX, LLP
               THE ENERGY CENTRE
     6         1127 JUDSON ROAD, SUITE 220
               LONGVIEW, TEXAS 75601
     7         (903) 236-9800
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                      Sunbelt Reporting & Litigation Services
           Houston   Austin   Corpus Christi   Dallas/Fort Worth   East Texas   San Antonio
Case 6:07-cv-00204-LED Document 291-13 Filed 03/15/10 Page 4 of 24 PageID #: 16629
                                                                                             3
                              CERTIFICATE OF NONAPPEARANCE

     1                       CERTIFICATE OF NONAPPEARANCE
     2                I, Jan Newman Carter, a Certified Shorthand
    3
     4




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   21                                     Jan Newman Carter, Texas CSR 6062
                                          Expiration Date: 12/31/10
   22                                     Sunbelt Reporting & Litigation
                                          East Texas Branch
   23                                     102 N. College, Suite 1014
                                          Tyler, Texas 75703
   24                                     (903) 593-3213
   25


                     Sunbelt Reporting & Litigation Services
          Houston   Austin   Corpus Christi   Dallas/Fort Worth   East Texas   San Antonio
Case 6:07-cv-00204-LED Document 291-13 Filed 03/15/10 Page 5 of 24 PageID #: 16630




  AO 8&A (Rev. 06/09) Subpoena to Testify at a beposition in a CiVll .Action


                                          UNITED STATES DISTRICT COURT
                                                                               for the
                                                                Eastern District of Texas'

          MARVELL SEMICONDUCTOR, INC., et aI.,                                    )
                                  Plaintiff                                       )
                                     V.                                           )      Civil Action No.         6:07-cv-204 LED
   COMMONWEALTH SCIENTIFIC AND INDUSTRlAL                                         )
         RESEARCH ORGANISATION                                                    )      (If the action :is pending in another district, state where:
                                Difendant                                         }                                                                 )

                                SUBPOENA TO TESTIFY AT A DEPOSITION 1N A CIVIL ACTION

  To: Sony Electronics, Inc.., c/o Sony Corp. of America, 555 Madison Ave., New York, NY 10022, which can be served
      at esc - Lawyers Inco., 211 E. 7th Street #620, Austin, Texas 78701
       r;f Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testi:fy at a
  deposition to be taken in this civil actiotL Ifyou are an organization that is not a party in this case, yon must designate
  one or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf '
  abont the following niatters, or those set forth in an attachment:



   Place: The Anderson County Courthouse Annex, 703 N.                                    Date and Time:
             Mallard #103B, Palestine, Texas 75801 orother
             location as aareed by the oarties                                             .. ~"'''' .loh..IJi1I2BI201£.;:?OJm.....                 ..,\.,
                                                                                                             I'                .J           ,   t

             The deposition will be recorded by this method:                     stenographically transcribed by a court reporter

        o Production: Yon, or yonr representatives, mnst also bring with you to the deposition the following documents,
            e1ectronicaJly stored information, or objects, and permit their inspection, copying, testing, or sampling of the
            material:




          TheproviBions of Fed. R. Civ. P. 45(c), relating to yonr protection as a person subject to a subpoena, and Rnle
  45 (d) and (e), relating to yonr duty to respond to this subpoena and the potential consequences of not doing so, are
  attached.

  Date:        0112112010
                                      CLERK OF COURT
                                                                                              OR

                                              Signature ofauk or Dep1!.ty Clerk

  The name, address, e-mail, and telephone number of the attorney representing (n                                             Commonwealth Scientific
  and Industrial Research Organisation                             , who issues or requests this subpoena, are:
 Jessica L Hannah, Gapshaw DeRieux LLP, 1127 Judson Road #220, LongView, Texas 75601
 jhannah@capshawlaw.com, 903-233-4823                                       '
                                                                                                                                                             ,




                                                                                                                                                    ..sOnl.4 fled..,,,,,,,,,
                                                                                                                                                        J
                                                                                                                                                EXHIBIT NO. _ - ' -_ _
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                                                                                                                                                Sunbelt Reporting & Litigation Services
Case 6:07-cv-00204-LED Document 291-13 Filed 03/15/10 Page 6 of 24 PageID #: 16631




  ·AO 88A (Rev. 06ID9) Suhpoena to Testify at a. Deposition in aCiv:il Action (page 2)

  Civil Action No. 6:07-cv-204 LED

                                                         PROOF OF SERVICE
                        (This section should fUJi be filed with the court unless required by Fed. R. Lm P. 45.)

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             o I returned the suhpoena unexecuted beClUISe:


             Unless the subpoena was issued on behalf oflhe United States, or one of its officers or agents, I have also
           . tendered to the witness fees for one'day's attendance, and the mileage allowed by law, in the amount of
             :I>      ,ulJ,...J~

  My fees are $
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                          ---l$',¥t.'f)4~:1aC.L-- fur travel and $ _ _ _ _ _ for services, for a total of $ _--,O",.O~O_ _


             I declare under penally of peljury that this infonnation is true.


  Date:      I-!hl-ID                                                   ~@iqtj!
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  Additional infonnation regarding attempted serVice, etc:
Case 6:07-cv-00204-LED Document 291-13 Filed 03/15/10 Page 7 of 24 PageID #: 16632




                                                           "    ~AVERY""
                                                               , !iff§> PV119G




                   Jv!j\RVELL Y. CSIRO
                  C.A. NO. 6:07·CY·204(LED)                                               "




                       SONY DOCLIMENTS
                  ATTACHMENTS fl, C AND
                                                                                     ~\
Case 6:07-cv-00204-LED Document 291-13 Filed 03/15/10 Page 8 of 24 PageID #: 16633




                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                        TYLER DIVISION

                                                          §
      MARVELL SEMICONDUCTOR, INC.                         §
      MARVELL ASIA PTE., LTD., and MARVELL                §
      INTL., LTD,                                         §
                                                          §
                                        §
                            Plaintiffs and                       Civil Action No. 6-07-CV-204 LED
                                        §
                            Counterdefendants,
                                        §                        Jury Trial Demauded
                v.                      §
                                        §
      COMMONWEALTH SCIENTIFIC AND       §
      INDUSTRIAL RESEARCH ORGANISATION, §
                                        §
                     Defendant and      §
                            Counterclaimant.              §



            COMMONWEALTH SCIENTIFIC AND INDUSTRIAL RESEARCH
       ORGANISATION'S NOTICE OF INTENT TO DEPOSE A REPRESENTATIVE FOR
          SONY ELECTRONICS, INC. PURSUANT TO FED. R CIY. PRO.30(B)(§)

             PLEASE TAKE NOTICE that pursuant to Rule 30(b)(6) of the Federal Rules of Civil

      Procedure, Plaintiff Commonwealth Scientific and Industrial Research Organisation will take the

      deposition upon oral examination of Sony Electronics, Inc., 555 Madison Ave., Floor 8 c/o Sony

      Corp. of America, New York, NY 10022-3337, commencing on Thursday, January 28, 2010, at

      9:00 a.m. or other date and time as agreed by the parties. Sony Electronics, mc. can be served

      through its registered agent for service of process Corporation Service Company d/bla CSC-

      Lawyers mco, 211 E. 7th Street, Suite 620, Austin Texas 78701. This notice is a continuation of,

      and adds no new substance to, the notice served on Friday, November 20, 2009, in order to

      accommodate Sony Electronics Inc.'s request for a more convenient location. The deposition

      will be conducted at Anderson County Courthouse Annex, 703 N. Mallard #103B, Palestine,

      Texas 75801, or other such place as agreed upon by the parties. Sony Electronics, mc. is

      directed to designate and produce one or more of its officers, directors, managing agents, or other
Case 6:07-cv-00204-LED Document 291-13 Filed 03/15/10 Page 9 of 24 PageID #: 16634




     designated persons to testify on its behalf as to the information known or reasonably available to

     Sony Electronics, Inc. concerning the matters set forth in ATTACHMENT A.

            This is an independent Rule 30(b)(6) notice that does not supersede, modify, or affect in

     any manner other Rille 3 O(b)(6) notices that have been served during this litigation.

            The deposition will be recorded stenographically before a notsry Public or other officer

     authorized to administer oaths, and shall continue day-to-day, excluding weekends and holidays,

     until completed.



     DATED: January 21,2010        Respectfully submitted,



                                           By: lsi Jessica L. Hannah
                                               S. Calvin Capshaw
                                               State Bar No. 03783900
                                               Elizabeth L. DeRieux
                                               State Bar No. 05770585
                                               D. J effi:ey Rambin
                                               State BarNo. 00791478
                                               Jessica 1. Hannah
                                               CA State BarNo. 261802
                                               Capshaw DeRieux, LLP
                                               1127 Judson Rd., Suite 220
                                               Longview, Texas 75601
                                               Telephone: (903) 236-9800
                                               Facsimile: (903) 236-8787
                                               E-mail: ccanshaw@capshawlaw.com
                                               E-mail: ederieux@capshawlaw.com
                                               E-mail: jrambin@capshawlaw.com
                                               E-mail: jhannah@capshawlaw.com

                                                Attorneys for Defendant,
                                                COMMONWEALTH SCIENTIFIC AND
                                                INDUSTRIAL RESEARCH ORGANISATION
Case 6:07-cv-00204-LED Document 291-13 Filed 03/15/10 Page 10 of 24 PageID #: 16635




                                      CERTIFICATE OF SERVICE

              I hereby certify that counsel of record who are deemed to have consented to electronic
      service are be:ing served the 21st day January, 2010, with a copy oftbis document via the Court's
      CMlECF system per Local Ru1e CV-5(a)(3), or to the extent not available in that maoner,
      counsel of record will be served by electronic mail, facsimile transmission andlor first class mail
      on this Bame date.

                                                           lsi Jessica L. Hannah
                                                           Jessica L. Haonah
Case 6:07-cv-00204-LED Document 291-13 Filed 03/15/10 Page 11 of 24 PageID #: 16636




                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION

                                                        §
      MARVELL SEMICONDUCTOR, INC.                       §
      MARVELL ASIAPT£., LTD., and MARVELL               §
      INTL., LTD,                                       §
                                                        §
                           Plaintiffs and               §
                           Counterdefendants,           §      Civil Action No. 6-07-CV-204 LED
                                                        §
                   v.                   §                      Jury Trial Demanded
                                        §
      COMMONWEALTH SCIENTIFIC AND       §
      INDUSTRIAL RESEARCH ORGANISATION, §
                                                        §
                            Defendant and               §
                          . Counterclaimant.            §


                                           ATTACHMENT A


                                                Definitions

            The following tenus and definitions shall apply to this Notice:

         1) "And" as used herein shall mean and/or;

        2) "Identification," "identify," or "identify," when used with reference to:

                a. An individual person means to state his or her full name, present or last known

                   employer, job title, present or last known residential address and telephone

                   number, and present or last known business address and telephone number;

                b. A business entity means to state the full name and address of the entity and the

                   names and positions of the individual or individuals connected with such entity

                   who have knowledge of the infonnation requested; and

                c. A document means to state the type of document (letter, report, fact sheet, etc.);

                   its date, author(s) or originator(s), addressees; all individuals who received copies

                   of the document; the identity of the persons known or presumed by you to have
Case 6:07-cv-00204-LED Document 291-13 Filed 03/15/10 Page 12 of 24 PageID #: 16637




                    present possession, custody, or control thereof; and a brief description of the

                    subject matter and present location;

        3) "Person" or "people" shall refer to any natural person, firm association, partnership,

            corporation, group, organization, or other fOIm oflegal business entiiy.

         4) "You" or "your" means Sony Electronics, Inc. and includes any officers, directors,

            partners, associates, employees, staff members, agents, representatives, attorneys, foreign

            or domestic subsidiaries, parents, affiliates, divisions, successors, predecessors, and any

            other related entities, and specifically includes all assets or companies that have been

            acquired by Defendant or with respect to which it bas succeeded to rights and/or

            obligations.
Case 6:07-cv-00204-LED Document 291-13 Filed 03/15/10 Page 13 of 24 PageID #: 16638




                              Sony Electronics. Inc. 30Cb)(6) Deposition Topics

     I.     The documents, records, reports, and things contained in ATTACHMENT B and
            videos contained in ATTACHMENT D, (collectively referred to as "Material at
            Issue") including:

            A. The identification of the Material at Issue;
            B. Confirmation or denial that the Material at Issue is or was publicly available on your
                 website;
            C. Confirmation or denial that. Material at Issue was placed on the web by yOU;
            D. Confirmation or denial that the originals of the Material at Issue are within your
                 "possession, custody or control" under Fed.R.Civ.P. 26(a)(1)(A)(ii);
            E. Confirmation or denial that the Material at Issue was made in the regular course of
                 your business;
            F. Confirmation or denial that the Material at Issue was kept in the regular course of
                 your business;
            G. Confirmation or denial that the Material at Issue was made at or near the time of the
                 occurrence of the matters set forth by, or from information transmitted by, a person
                 with knowledge of those matters;
            H. Confirmation or denial that the entries on or contained in the Material at Issue were
                 made at or near the time of the act, event, statement, information, or transaction
                 recorded or reflected in the Material at Issue;
            I.   Confirmation or denial that it was in the regular course of your business for a person
                 with knowledge of the acts, events, statements, conditions, or opinions recorded or
                 reflected in or on the Material at Issue to make or record or transmit the information
                 to be included in the Material at Issue; and
            J. Discussion, exploration, explanation, or investigation of the items above if the
                 answers are anything other than a whole and unqualified confirmation, and to the
                 extent that such answers are required, the documents, reports, videos, and other
                 materials will be referred to separately as needed.


      IT.   Confirm the identity of the following corporate officers:

            A. Howard Stringer;
Case 6:07-cv-00204-LED Document 291-13 Filed 03/15/10 Page 14 of 24 PageID #: 16639




             1) Ryoji Chubachi; and
             2) Kazuo !£rai.


      III.      Confirm statements attributed to you in the article(s) in ATIACHMENT C.
Case 6:07-cv-00204-LED Document 291-13 Filed 03/15/10 Page 15 of 24 PageID #: 16640




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

                                        §
      MARVELL SEMICONDUCTOR, INC.       §
                                        §
      MARVELL ASIA PTE., LTD., and MARVELL
      INTL., LTD,                       §
                                        §
                     Plaintiffs and     §
                     Counterdefendants, §               Civil Action No. 6-07-CV-204 LED
                                        §
                v.                      §               Jury Trial Demanded
                                        §
      COMMONWEALTH SCIENTIFIC AND       §
      INDUSTRIAL RESEARCH ORGANISATION, §
                                        §
                     Defendant and      §
                        Counterclaimant.         §


                                      ATTACHMENT B


               See IDe(s) contained on CD which was served on November 20, 2009.

                             A second copy will be sent via FedEx.
Case 6:07-cv-00204-LED Document 291-13 Filed 03/15/10 Page 16 of 24 PageID #: 16641




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS

                                      TYLER DIVISION

                                                 §
      MARVELL SEMICONDUCTOR, INC.                §
      MARVELL ASIA PTE., LID., and MARVELL       §
      INTL., LID,                                §
                                                 §
                        Plaintiffs and           §
                        Counterdefendants,       §      Civil Action No. 6-07-CV-204 LED
                                                 §
                 ~                               §      Jury Trial Demanded
                                                 §
      COMMONWEALTH SCIENTIFIC AND       §
      INDUSTRIAL RESEARCH ORGANISATION, §
                                                 §
                        Defendant and            §
                        Counterclaimant.         §


                                      ATTACHMENT C




               See [de(s) contained on CD which was served on November 20, 2009.

                             A second copy will be sent via FedEx.
Case 6:07-cv-00204-LED Document 291-13 Filed 03/15/10 Page 17 of 24 PageID #: 16642




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

                                                  §
      MARVELL SEMICONDUCTOR, INC.                 §
      MARVELL ASIA PTE., LTD., and MARVELL        §
      INTL., LTD,                                 §
                                                  §
                        Plaintiffs and            §
                        Counterdefendants,       .§     Civil Action No. 6-07-CV-204 LED
                                                  §
                 v.                               §     Jury Trial Demauded
                                                  §
      CO:MMONWEALTH SCIENTIFIC AND                §
      INDUSTRIAL RESEARCH ORGANISATION,           §
                                                  §
                        Defendant and             §
                        Counterc1aimant.          §


                                      ATTACHMENT D




               See file(s) contained on CD which was served on November 20, 2009.

                             A second copy will be sent via FedEx.
  Case 6:07-cv-00204-LED Document 291-13 Filed 03/15/10 Page 18 of 24 PageID #: 16643

Jessica Hannah

From:                        Muranaka, Aaron M. [AMuranaka@foley.comj
Sent:                        Monday, January 25, 2010 7:34 PM
To:                          Jessica Hannah
Cc:                          Fuller, Chad R.; ronald.wasinger@am.sony.com
Subject:                     Sony's Objections to 1/21/2010 Marvell v. CSIRO Subpoena
Attachments:                 Sony's Objections to Jan. 21, 2010 Marvel v. CSIRO Subpoena. pdf

Follow Up Flag:              Follow up
Flag Status:                 Flagged

Categories:                  Marvell v CSIRO 607cv204 1020.006


«Sony's Objections to Jan. 21, 2010 Marvel v. CSIRO Subpoena.pdf»
Dear Ms. Hannah,

       Please find attached /SOny Electronic
                                        ..    InG.'s objections to the January 21, 2010 deposition served on it in the matter
entitled Marvell Semic0'lductor, Inc. e( al. v. Commonwealth Scientific and Industrial Research Organisation.

      Please feel free to contact me directly if you have any questions or concerns.

Best Regards,

Aaron

Aaron M. Muranaka
Foley & Lardner LLp· 402 W. Broadway, Suite 2100· San Diego, CA 92101 ·619.234.6655




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client(s) represented by the Firm in the particular matter that is the subject of this message, and may not be
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Internal Revenue Service regulations require that certain types of written advice include a disclaimer. To the
extent the preceding message contains advice relating to a Federal tax issue, unless expressly stated otherwise
the advice is not intended or written to be used, and it cannot be used by the recipient or any other taxpayer, for
the purpose of avoiding Federal tax penalties, and was not written to support the promotion or marketing of any
transaction or matter discussed herein.

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Case 6:07-cv-00204-LED Document 291-13 Filed 03/15/10 Page 19 of 24 PageID #: 16644



   ~FOLEY                                                                               ATTORNEYS AT LAW
                                                                                        402 W. BROADWAY, SUITE 2100
   F'OLEY & LARDNER LLP                                                                 SAN DIEGO, CA 921P.l:3!54~
                                                                                        619.234,6655 tEL
                                                                                        619.. 234.3510 FAX
                                                                                        f(jley.com
                                                           January 25,2010
                                                                                        WRITER'S DIRECT LINE
                                                                                        Q19.685.4636
                                                                                        amuranOlk,,@foley.comEMA1L

     VIA E-MAIL AND U.S. MAIL                                                           CLIENT/MATTER NUMBER
                                                                                        999999'9999



      Jessica L. Hannah
      Capshaw DeRieux LLP
      1127 Judson Road, Suite 220
      Longview, TX 75601

                     Re:       Marvell Semiconductor. Inc.. et al. v. Commonwealth Scientifu:
                               and Industrial Research Organization, Civil Action No. 6-07-
                               CV-204 LED (E.D. Tex.)

      Dear Ms. Hannah:

              This firm represents Sony Electronics Inc. ("Sony''). On January 21,2010, Sony's agent for
      service of process in Austin, Texas was served with a deposition subpoena (the "Subpoena"), issued
      by Capshaw DeRieux LLP on behalf of Commonwealth Scientific and Industrial Research
      Organization ("CSIRO'~ in the litigation referenced above. The Subpoena is dated January 21, 201 0
      and recites a deposition date of January 28, 2010.

             The Subpoena is the second deposition notice Sony has received from your firm regarding
      this matter. The first deposition notice was dated November 20, 2009 and recited .a deposition date
      of November 30, 2009 (the "Notice',).

               On November 30, 2009, Sony sent a letter to your firm objecting to the Notice. Over a week
      later,. on December 9, 2009, Jeff Rambin from your firm contacted me by telephone. Mr. Rambin
      told me that the discovery deadline in this matter was December 10, 2009, that the parties were
      conferring regarding extending the discovery deadline to January 21, 2010 and that he would like to
      meet and confer with me regarding Sony's objections in case it was neces.sary to file a motion to
      compel.

             On December 10,2009, Mr. Rambin sent me an email indicating that the parties had agreed
      to extend the discovery deadline in this matter to January 21, 2009. Mr. Rambin then asked to
      "touch base tomorrow about how to proceed." that same day, I replied that I would be aVllilable to
      discuss the Notice on Friday, December 11,2009 or Monday. December 14,2009.

              I did not hear from Mr. Rambin until Over a month later. On Jljlluary 19, 2009, Mr. Rambin
      e-mailed me to see if I would be available for a call regarding the Notice the next day. On January
      20, 2009, I spoke to Mr. Rambin and Mr. Michael Ng of Kerr & Wagstaffe LLP regarding ihe
      Notice. During the phone call, I explained that Sony would not respond to the subpoena based on its
      objections. 1n particular, I emphasized that Sony could not respond before the discovery deadline
      passed and that Sony considered this issue particularly relevant in light of the fact that Mr. Rambin
      aoSTOIII             JACKSO'NVILl..:E.   MILWAUKEE            SAN DIEGO               SlUCONVALLE'I'
      BRUSSELS             LqS ANGELES         NEW YORK             SAN DIEGO/DEL MAR       TALLAHASSEE
      CHICAGO              MADISO.N            ORLANDO               SAN fRANC-ISCO'        TAMPA"
      DETROIT              MIAMI               &,!\cRAMENTO          SHANGHAI               1QKYO
                                                                                            .wASHINGTON, D.C.
Case 6:07-cv-00204-LED Document 291-13 Filed 03/15/10 Page 20 of 24 PageID #: 16645



      ; FOLEY
      FOLEY & LARDNER LlP


      Ms. Jessica L. Hannah
      January 25,2010
      Page 2


      had waited over a month to contact it, and did sO oruy two days before the discovery deadline; that
      the Notice was procedurally defective because it set a deposition more than 100 miles from Sony's
      place of business; that the Notice was issued from the improper court and that Sony would only
      reply to a subpoena issued from the Southem District of California; and that the Notice was unduly
      burdensome due to the fact that it sought aUthentic.ation of documents in Sony Corporiltion of Japan
      and Sony Corporation of America's control.

              Despite these objections and in an attempt to compromise, Mr. Rambin and I ilgreed to limit
      the Notice in three ways: (1) to allow authentication by declaration; (2) to limit the authentication to
      documents obtained from Sony; (3) and to limit the authentication request to no more than 100
      documents. I told Mr. Rambin that I would take this offer to Sony and Mr. Rambin informed me
      that he would check with his client to determine if the offer was acceptable.

             I communicated the offer to compromise to Sony. On January 21, 2010, I emailed Mr.
      Rambin telIing him that Sony would need additional questions answered before it could makes its
      decision. I also informed Mr. Rambin that the individual at Sony who would make the final decision
      had been out of town and would not be able to make a decision until the following week.

              Mr. Rambin never contacted me. Instead, on January 21, 2010 your firm served the
      Subpoena on Sony. The Subpoena appears to be nearly identical to the Notice. The primary
      difference between the Notice and Subpoena is that in addition to listing a new place and time for the
      deposition it also states that the location, date, time and location of the deposition can be agreed to
      by the parties. The Subpoena also states that "this notice is a continuation of; and adds no new
      substance to, the notice served ()n Friday, N()vember 20, 2009, in order to accommodate Sony
      Electronic mc.'s requests for a more convenient location." However, I never stated that Sony sought
      a more convenient location for the deposition. Instead, I explained that the Subpoena was
      procedurally defective on its face because it set the deposition location more than 100 miles from
      Sony's place of business and was issued from the incorrect court.

              CSIRO's offer to agree to a more convenient location does not cure these deficiencies
      because the Notice was a legal nullity with no effee!. Smith 11; BIC Corp., 121 F.R.D. 235, 245 (B.D.
      Penn. 1988). m Smith, the defendant, BIC USA served a deposition subpoena on a nonparty, Dr.
      Geremia. The subpoena was quashed because Dr. Geremia lived more than 100 miles from the place
      where BIC USA proposed to conduct his deposition. Id.at 238. On appeal. the defendant argued
      that the subpoena should not have been quashed because it "'was willing to depose Dr. Geremia at a
      mutually agreeable location which would comply with the [Federal Rules of Civil Procedure]." Id.
      at 245. The Court expressly rejected this atgument explaining that:

                     BIC USA ignores the fact that, as a practical matter, the subpoena it
                     served upon Dr. Geremia was a nullity given [the Federal Rule of Civil
                     Procedure's requirement that a deposition be CQIlducted within 100
                     miles of where the deponent lives]. IfBlC USA intended to depose Dr.
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                     Geremia at a location which complied with [the Federal Rules of Civil
                     Procedure], it would not have been able to seek the issuance of a
                     subpoena from the Clerk of this Court, since the deposition woul£lnot
                     be taken within the confines of this Dlstrict. Based on the record
                     before us, it appears that the proper procedure would have been for
                     BIC USA to seek, pursuant to [the Federal Rules of Civil Procedure],
                     the issuance of a subpoena from the Clerk of Court for the United
                     States District Court for the District of Maryland. Regardless of where
                     it could have sought a proper subpoena, BIC liSA could not have
                     forced Dr. Geremia to appear for a deposition anywhere in this District
                     based on a subpoena issued. by this Court.

      Id. at 245. Similarly, CSlRO's offer to hold the depositiDn at a lDcation at a date, time and place the
      parties agree to does not remedy the Notice's procedural defects.

             In addition, pursuant to Federal Rule of Civil Procedure 45(c) Sony reasserts its objections to
      the Notice and ob1ec18 to the Subpoena on the following grounds:

              I.     Sony objects to the SubpDena as procedurally defective because it requires Sony to
                     attend a depositiDn more than 100 mil~ from its place of business in violatien of
                     Federal Rule of Civil Procedure 45(c)(3)(A)(ii). Roller Bearing Co. of America, Inc.
                     v. Am. Software, Inc., 570 F.Supp.2d 376, 389 (D.COni:!. 2008) ("A court cannot
                     require a person who is not a party or an officer of a party to travel to a place mote
                     than 100 miles from the place where that person resides, is employed or regularly
                     transacts business to appear before it").

              2.      Sony objects t.o. the Subpoena as procedurally defective because it is issued from the
                      incorrect court. Sony is located in the Southern District of California. The Subpoena
                      was issued from the Eastern District of Texas which lacks jurisdiction to compel
                      Sony's compliance with the Subpoena and thus, the Subpoena is void .on its face.
                      Gip~on v. Wells Fargo Bank. N.A., 239 F.R.D. 280,281 (D.D.C. 2006) (court lacked
                      jurisdiction t.o issue subpoena f.or n.on-party deponent not located within 100 miles of
                      court); Smith, 121 F.R.D. at 245(subpoena served on non-party witness who lived
                      more than 100 miles from where deposition was tD be conducted was a legal nullity).

              3.      S.ony objects to the Subpoena as procedurally defective based on CSlRO's failure to
                      tender witness fess with the subpoena in violati.on of Federal Rules of Civil Procedure
                      45(b)(1). In Re Dennis, 330 F.3d 696, 705 (5th Cir. 2003) (quashing subpoena based
                      on failure to tender reasonably estimated mileage fees); CF&1 Steel Corp. v. Mitsui &
                      Co., 713 F.2d 494, 496 (9th Cit. 198:3) (upholding quashing of subpoena based on
                      failure to simultaneously tender witness fees with subpoena).
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              4.      Sony objects to the Subpoena because it violates the December 1 I, 2009 stipulated
                      motion for extension 'of time in this mater which provides that, "the parties agree that
                      any discovery, including without limitation, subpoenas, notices of deposition, and
                      written discovery served on the other party or third parties after December 10,2009,
                      is untimely and need not be responded to by any party."

              5.      Sony objects to the Subpoena to the extent that it seeks information protected by the
                      attorney-client privilege, the work-product privilege or any other applicable privilege.

              6.      Sony objects to the Subpoena as overly broad and impermissibly vague. See Mattel
                      Inc. v. Walking Mountain Proauctions, 353 F.3d 792, 813 (9th Or. 2003) (quaShing
                      subpoena where ''no attempt had been made to try to tailor the information request to
                      the immediate needs of the case.").

              7.      Sony objects to the Subpoena as unduly burdensome and on the grounds that
                      compliance with its terms will cause Sony undue expense. Fed. R. Civ. Proc.
                      45(c)(I) ("A party or attorney ... must take reasonable steps to avoid imposing undue
                      burden or expense on a person subject to the subpoena."). Compliance with the
                      subpoena would require a significant expenditure of Sony's funds and time to review
                      the voluminous amount ofinformation included on the CD provided to Sony and to
                      confirm the information set furth in Attachment A. The cost and time associated with
                      such a review would unduly burden Sony.

              8.      Sony objects to the Subpoena to the extent that it calls for the review of "all" the
                      docilments included on the CD provided to Sony as overly broad, burdensome,
                      oppressive and harassing. Sony is not a party to the above entitled litigation. Much
                      of the information requested from Sony Clln be obtained more readily from an
                      alternative source (i.e. the docUnlents ate publicly available and verifiable).

              9.      Sony objects to the Subpoena as unduly burdensome, oppressive and harassing to the
                      extent that it purports to call for the review of documents not within Sony's
                      possession, custody, or control. Se.e Ariel v: Jones, 693 F.2d 1058, (11th Cir. 1982)
                      (holding that party had no obligation to produce docilments stored in one state based
                      upon the. service of one of its agents in another state.); Powers Integration, Inc. v.
                      Fairchild Semiconductor [nt'l [TIc., 233 F.R.D. 143, 145-46 (D. DeL 2005) (holding
                      that non-party domestic subsidiary had no obligation to obtain docUnlents from its
                      foreign parent corporation in reSponse to subpoena duces tecum).

              10.     Sony objects to the Subpoena on the grounds that it provides an unreasonably short
                      time to respond, in that the Subpoena purports to direct a deposition on January 28,
                      2010, only a week after the service of the subpoena. Fed. R. Civ. Proc.
                      45(c)(3)(A)(i) (subpoena must be quashed if it "fails to allow a reasonable time to
                      comply."). The Subpoena's deposition topics are very broad and would require Sony
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                      to review the voluminollS amount of infonnation transmitted to Sony. This process
                      would take longer than the seven days provided for in the Subpoena.

              11.     Sony objects to each and every deposition topic to the extent that it caUs for and seeks
                      a cOnclusion oflaw.

              12.     Sony objects to the Subpoena to the extent that it seeks deposition testimony
                      concerning documents whiCh are already in the possession of CSIRO and which
                      CSIRO could therefore, detennine the requested infonnation from, at equal or less
                      burden than to Sony. In particular, Sony objects that it would be unduly burdensome
                      to require it to authenticate the screenshots of WebPages in exhibit A because CSIRO
                      could do thls on its own. See See Perfect if), inc. v. Cybernet Ventures. Inc., 213
                      F.Supp.2d 1146, 1154-55 (CD. Cal. 2002) (holding that WebP<!ges                    can
                                                                                                          be
                      authenticated under FRE 901(h)(4)Jtbrough a declaration from the individual who
                      Visited the website stating that the screenshot put into evidence is a true and correct
                      copy).

              13.     Sony objects to the Subpoena to the extent that it purports to itnpose obligations on
                      Sony beyond those set forth in, or that exceed the scope of diSCovery pennitted under,
                      the Federal Rules of Civil Procedure or any other rules applicable to this action.

              14.     Sony objects to the Subpoena to the extent that it seeks deposition testimony
                      concerning topics that do not concern the subject matter of action, and to the extent
                      that it calls for deposition testimony which is irrelevant, inmiaterial, not reasollably
                      calculated. to lead to the discovery of admissible evidellce or not germane to any
                      claim or defense in this action.

              15.     Sony objects to the Subpoena to the extent it seeks infonnation which is "a trade
                      secret or other confidential research, development, or commercial infonnation." Fed
                      R. Civ. Proc. 45(c)(3)(B)(i).

              16.      Sony objects to the Subpoena to the extent it seeks infottnation protected by Sony and
                       other's right of privacy.

              17.      Sony objections and responses are made without in any waiving: (i) the right to object
                       on the grounds of competency, relevance, materiality, hearsay or any other proper
                       ground in any subsequent stage or proceeding in this or any other action; (ii) the right
                       to object on any and all grounds, at any time, to any discovery procedure relating to
                       the subject matter of this action, or (iii) the right to assert the protections afforded by
                       the attorney-client privilege, the work-product doctrine, or any other right or
                       privilege.
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             Itt light ofCSIRO's dilatory conduct regllrditlg the Notice, and the foregoing objections to
      the Subpoena, Sony will not attend the deposition scheduled fur January 28, 2010.


                                                   Best regllrds,



                                                   Aaron M. Muranaka




                                                                                                      SDCA_15S4569.1
